          Case No. 1:13-cr-00392-CMA Document 473-4 filed 05/13/15 USDC Colorado pg 1 of 1


 OCJA 24 AUTHORIZATION AND VOUCHER FOR PAYMENT OF TRANSCRIPT (Rev. 01/08)
1. CIR./DIST./ DIV. CODE   2. PERSON REPRESENTED                                                                                  VOUCHER NUMBER
 COX                                      Vigil, Mimi M.
3. MAG. DKT./DEF. NUMBER                             4. DIST. DKT./DEF. NUMBER                        5. APPEALS DKT./DEF. NUMBER                      6. OTHER DKT. NUMBER
                                                      13-cr-00392                                     15-1058
7. IN CASE/MATTER OF (Case Name)                     8. PAYMENT CATEGORY                              9. TYPE PERSON REPRESENTED                       10. REPRESENTATION TYPE
                                                     G Felony                   G Petty Offense       G Adult Defendant            ✔ Appellant
                                                                                                                                   G                       (See Instructions)
 U.S. v. Brokaw, et al.                              G Misdemeanor              G Other               G Juvenile Defendant         G Appellee          CC
                                                     ✔ Appeal
                                                     G                                                G Other
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section) If more than one offense, list (up to five) major offenses charged, according to severity of offense.
 18 U.S.C. §§ 286, 287, 371; 26 U.S.C. §7212(a)
                                                        REQUEST AND AUTHORIZATION FOR TRANSCRIPT
12. PROCEEDING IN WHICH TRANSCRIPT IS TO BE USED (Describe briefly)
 10th Circuit Appeal from the United States District Court, Colorado

13. PROCEEDING TO BE TRANSCRIBED (Describe specifically). NOTE: The trial transcripts are not to include prosecution opening statement, defense opening statement, prosecution
    argument, defense argument, prosecution rebuttal, voir dire or jury instructions, unless specifically authorized by the Court (see Item 14).
 Sentencing Hearing held 1/29/15 before Judge Arguello (memorialized at Doc. 405)

14. SPECIAL AUTHORIZATIONS
                                                                                                                                                                           JUDGE’S INITIALS

          A. Apportioned Cost                 % of transcript with (Give case name and defendant)

          B. G 14-Day            G Expedited            G Daily                 G Hourly             G Realtime Unedited
      C. G Prosecution Opening Statement           G Prosecution Argument           G Prosecution Rebuttal
         G Defense Opening Statement               G Defense Argument               G Voir Dire                       G Jury Instructions
      D. In this multi-defendant case, commercial duplication of transcripts will impede the delivery of accelerated transcript services to persons proceeding
         under the Criminal Justice Act.
15. ATTORNEY’S STATEMENT                                                                        16. COURT ORDER
      As the attorney for the person represented who is managed above, I hereby affirm that the          Financial eligibility of the person represented having been established to the Court’s
      transcript requested is necessary for adequate representation. I, therefore, request               satisfaction the authorization requested in Item 15 is hereby granted.
      authorization to obtain the transcript services at the expense of the United States pursuant
      to the Criminal Justice Act.

                     s/Jessica E. Yates                                       05/13/2015
                         Signature of Attorney                                     Date                                  Signature of Presiding Judge or By Order of the Court

                      Jessica E. Yates
                             Printed Name                                                                             Date of Order                                Nunc Pro Tunc Date
      Telephone Number:                            (303) 634-2000
      G
      ✔ Panel Attorney        G Retained Attorney         G Pro-Se          G Legal Organization
                                                                                 CLAIM FOR SERVICES
17. COURT REPORTER/TRANSCRIBER STATUS                                                                18. PAYEE’S NAME AND MAILING ADDRESS

      G Official          G Contract         G Transcriber            G Other

19. SOCIAL SECURITY NUMBER OR EMPLOYER ID NUMBER OF PAYEE

                                                                                                                                        Telephone Number:
                                                             INCLUDE                                                                                    LESS AMOUNT
20.            TRANSCRIPT                                                           NO. OF PAGES         RATE PER PAGE             SUB-TOTAL                                        TOTAL
                                                          PAGE NUMBERS                                                                                  APPORTIONED
               Original
               Copy
               Expense (Itemize)
                                                                                                                                TOTAL AMOUNT CLAIMED:
21. CLAIMANT’S CERTIFICATION OF SERVICE PROVIDED
       I hereby certify that the above claim is for services rendered and is correct, and that I have not sought or received payment (compensation or anything of value) from any other source for
       these services.

       Signature of Claimant/Payee                                                                                                         Date

                                                                              ATTORNEY CERTIFICATION
22. CERTIFICATION OF ATTORNEY OR CLERK I hereby certify that the services were rendered and that the transcript was received.


                                       Signature of Attorney or Clerk                                                          Date
                                                           APPROVED FOR PAYMENT — COURT USE ONLY
23. APPROVED FOR PAYMENT                                                                                                                                    24. AMOUNT APPROVED



                                    Signature of Judge or Clerk of Court                                                       Date


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